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 7
 8
                         UNITED STATES DISTRICT COURT
 9
                  FOR THE CENTRAL DISTRICT OF CALIFORNIA
10
11
12   UNITED STATES OF AMERICA,          )   Case No.: CR-13-106-ODW
                                        )
13                  Plaintiff,          )
                                        )   DEFENDANT’S MOTION
14                                      )
                                        )   TO DISMISS UNDER RULES
15         v.                           )
                                        )   12(b)(3)(A)-(B) FOR FAILURE TO
16                                      )   STATE AN OFFENSE, LACK OF
                                        )   JURISDICTION, AND VARIOUS
17   DAVID SANTILLAN,                   )
                                        )   CONSTITUTIONAL VIOLATIONS;
18   President of Mongol Nation LLC,    )   MEMORANDUM OF POINTS AND
                                        )   AUTHORITIES
19                  Defendant.          )
                                        )
20                                      )   JURY TRIAL DEMANDED
                                        )
21                                      )
                                        )   Date: October 21, 2013
22                                      )
                                        )   Time: 10:00 A.M.
23                                      )   Dept: Hon. Otis D. Wright II
24
25
26   ///
27   ///
     ///
28



                                 [MOTION TO DISMISS]
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 1   PLEASE TAKE NOTICE that on October 21, 2013 at 10:00 a.m. in Courtroom
 2   11, Defendant DAVID SANTILLAN, by and through counsel, will and hereby
 3   does motion this Honorable Court to dismiss the case for failure to state an
 4   offense, lack of jurisdiction, and various constitutional violations. This motion
 5   shall be based on the motion, this notice of motion, the attached memorandum of
 6   points and authorities, all filings and oral records, and upon any and all argument
 7   heard by the Court on the motion.
 8
 9                                         Respectfully submitted,
10
11
12   Dated September 12, 2013              /s/Bob Bernstein___________________
13                                         Bob Bernstein, Esq.
                                           BERNSTEIN LAW OFFICE, INC.
14                                         Attorneys for David Santillan
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 1                  MEMORANDUM OF POINTS AND AUTHORITIES
 2                                            I
 3                                    INTRODUCTION
 4         The government’s sole purpose in filing the indictment is to crush the
 5   Mongols Nation Motorcycle Club (the “Club”) by seizing the intellectual rights to
 6   the “Rider ” and “Mongol” marks (the “Marks”) and thereby quash the Club and
 7   its members’ rights to freedom of expression and association in violation of the
 8   First Amendment. To achieve this aim, the government seeks to exploit the
 9   alleged actions of rogue individuals—who operated entirely outside of their
10   alleged membership with the Club—by holding the Club responsible and seizing
11   the Marks.
12         But the Marks are not the proceeds of criminal activity and therefore the
13   government’s effort to secure their forfeiture are misplaced because RICO does
14   not grant jurisdiction for their seizure. Moreover, the in personam nature of RICO
15   forfeiture prevents the government from seizing the Marks because the
16   government can only seek forfeiture against property of the actual individuals who
17   allegedly committed racketeering acts yet the government has instead proceeded
18   against the Mongols as an entity. Indeed, the attempt to take the Marks constitutes
19   an attempt at an illegal seizure under the Fourth Amendment and a violation of
20   due process.
21   ///
22   ///
23   ///
24   ///
25   ///
26   ///
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28   ///



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 1                                            II
 2        RICO DOES NOT GRANT THE GOVERNMENT JURISDICTION TO SEEK
      FORFEITURE OF THE MARKS BECAUSE THEY ARE NOT THE PROCEEDS OF THE
 3
       ALLEGED RACKETEERING ACTS AND RICO FORFEITURE IS AN IN PERSONAM
 4           CRIMINAL REMEDY THAT DOES NOT APPLY TO DEFENDANT
 5
     A.    The Marks are Not Proceeds of RICO Racketeering Acts and There is
 6         No Causal Link Between the Marks and the Alleged Racketeering Acts
 7
           In order to establish a violation of Section 1962(a), the government must
 8
     prove the following elements beyond a reasonable doubt:
 9
           1. Existence of an enterprise;
10
           2. The enterprise engaged in, or its activities affected, interstate or foreign
11
              commerce;
12
           3. The defendant derived income, directly or indirectly, from a pattern of
13
              racketeering activity or through collection of an unlawful debt in which
14
              such person has participated as a principal;
15
           4. The defendant used or invested, directly or indirectly, any part of that
16
              income, or the proceeds of that income, in the acquisition of an interest
17
              in, or the establishment or operation of, the enterprise.”
18
     (Abraham v. Singh (5th Cir. 2007) 480 F.3d 351, 3 156 56-57; St. Paul Mercury
19
     Ins. Co. v. Williamson (5th Cir. 2000) 224 F.3d 425, 441; United States v. Vogt
20
     (4th Cir. 1990) 910 F.2d 1184, 1194, cert. denied, 498 U.S. 1083 (1991).)
21
           However, the government cannot meet the “but for” test to establish that the
22
     Marks are proceeds derived from criminal activity: A plain reading of Section
23
     1963(a) indicates that the interest to be forfeited must have been acquired or
24
     maintained as a result of the racketeering violation. (Ibid.) Some courts have held
25   that there must be a “but for” relationship between the offense and the acquisition
26   or maintenance of the interest. (See, e.g., United States v. Cianci (D.R.I. 2002)
27   218 F. Supp. 2d 232, 235 (district court imposes forfeiture upon finding that
28   defendants would not have obtained $250,000 “but for” defendants’ participation


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 1   in RICO conspiracy); United States v. Angiulo (1st Cir. 1990) 897 F.2d 1169,
 2   1213 (reversing forfeiture of property obtained before the defendant committed
 3   his second racketeering act); United States v. Ofchinick (3d Cir. 1989) 883 F.2d
 4   1172, 1183-1184 (holding that the Government failed its burden of proving that
 5   the defendant’s “racketeering activities were a cause in fact of his acquisition of or
 6   maintenance of an ownership interest in the [forfeited] stock”); United States v.
 7   Horak (7th Cir. 1997) 833 F.2d 1235, 1242 (remanded to determine whether
 8   defendant’s salaries and bonuses subject to forfeiture were obtained solely from
 9   unlawfully obtained contract or were in part obtained through lawful activities).)
10   The indictment does not contain allegations sufficient to meet the but for test.
11   (Ibid.)
12             Here, the government cannot realistically argue that the Marks were
13   somehow obtained by virtue of the alleged racketeering acts. The indictment
14   actually alleges that the alleged members wore the patches at the time of each and
15   every alleged criminal act.     (Indictment.) This shows that the government is
16   assuming the Mongols were in possession of the Marks before any criminal
17   activity occurred. (Ibid.) It follows that the government cannot established—and
18   has not made sufficient allegations—to show that the Marks are forfeitable.
19   (United States v. Kramer (11th Cir. 1996) 73 F.3d 1067, 1076, cert. denied, 519
20   U.S. 1011 (property subject to forfeiture under Section 1963(a)(3) is limited to
21   property that a defendant obtains directly or indirectly as a result of racketeering
22   activity prior in time to the racketeering acts); see, also, e.g., United States v.
23   Thevis (N.D. Ga. 1979) 474 F. Supp. 134, 142 ("Interest" subject to forfeiture
24   under 18 U.S.C. § 1963(a) is limited to the interest in the enterprise and does not
25   extend to fruits or profits generated from the enterprise.) The government clearly
26   has failed to establish that the “interest” was obtained “prior in time” and it
27   follows that the interest was not obtained either directly or indirectly as a result of
28



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 1   the alleged racketeering acts. (Kramer, 73 F.3d at 1076; Angiulo, 897 F.2d at
 2   1213; Thevis, 474 F. Supp. at 142.)
 3          Moreover, as a matter of logic, the Marks are not an “interest” or property
 4   subject to criminal forfeiture because they are simply patches worn on the back of
 5   the jackets the Club members wear when riding their motorcycles. (See,
 6   Indictment at 5-6.) Over time, they have become the intellectual property of the
 7   Club as collective marks, but a trademark “is not a property in the ordinary sense.”
 8   (Power Test Petroleum Distributors, Inc. v. Calcu Gas, Inc. (2d Cir. 1985) 754
 9   F.2d 91, 97.) Instead, a trademark is an intangible “limited property right in a
10   particular word, phrase or symbol,” separate from any tangible items bearing the
11   mark. (New Kids on the Block v. News America Pub., Inc. (9th Cir. 1992) 971
12   F.2d 302, 306; see also, 15 U.S.C. § 1127.)             No criminal activity would
13   realistically be required for the members to wear the patches. The patches have
14   become recognized and associated with the Mongols because the members have
15   been wearing the patches for decades.          The Marks are nothing more than
16   collective marks used to demonstrate membership. (International Order of Job’s
17   Daughters v. Lindeburg and Co. (9th Cir. 1980) 633 F.2d 912, 914; see, Section
18   II, C, infra.)
19          The indictment consequently also falls short of assertions that would meet
20   the “causal link test”: In United States v. DeFries, the court ruled that the “but for”
21   test requires only an adequate “causal link between the property forfeited and the
22   RICO violation” that should be determined on the facts of each case. (DeFries,
23   (D.C. Cir. 1997) 129 F.3d 1293 1312-13.) But there is no conceivable argument
24   supporting a causal link between the crimes alleged in the indictment and the
25   ownership of the collective marks. (See, generally, Indictment.) The indictment
26   alleges murder, drug distribution, and a variety of felonies. (Ibid.) None of the
27   crimes alleged somehow gave the Club members the right to wear a patch on their
28   back. In actuality, the right to wear the Marks were bestowed upon the members



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 1   under the First Amendment, which permits an individual to express himself and
 2   demonstrate his association with others. Unfortunately, the indictment seeks to
 3   crush the members’ First Amendment rights through the governments’ unfounded
 4   forfeiture vendetta that is entirely unjustified under RICO. (See, Section II, B,
 5   infra; Section III, infra.) The government has no jurisdiction to proceed and the
 6   indictment must be dismissed. (Kramer, 73 F.3d at 1076; Angiulo, 897 F.2d at
 7   1213; Thevis, 474 F. Supp. at 142.)
 8   B.    RICO Forfeiture is an In Personam Procedure That Does Not Apply to
 9         The Club as an Entity, Which Is an Improperly Named Defendant
10         Forfeiture is an in personam remedy targeted primarily at the defendant
11   who committed the criminal offense. (United States v. Riley (8th Cir. 1996) 78
12   F.3d 367, 370-371; United States v. Lester (9th Cir. 1996) 85 F.3d 1409 at 1414
13   n.8.) Here, the government attempts to create a non-existent nexus between the
14   actions of previously convicted criminal defendants, and an amorphous
15   “unincorporated association” which the government has now determined is
16   represented by David Santillan, who is president of Mongols Nation Motorcycle
17   Club, LLC.
18         “Though the indictment alleged that the Named Companies are an
19
           enterprise through which defendants conducted their racketeering
           activities, an allegation that an enterprise was used to commit RICO
20         violations is not enough to make the enterprise forfeitable, only
21         defendants' interests in that enterprise. RICO's criminal forfeiture is an
           in personam remedy to punish the RICO defendants. (See United
22
           States v. Conner (11th Cir. 1985) 752 F.2d 566, 576.) It does not
23         permit the government to seize control of an enterprise that defendants
           used          to         accomplish          their         racketeering.”
24
           (United States v. Riley (8th Cir. 1996) 78 F.3d 367, 370-371.)
25
     The government seeks to evade the in personam nature of RICO forfeiture by
26
     naming “Mongols Nation, an unincorporated association” as a Defendant. But,
27
           “’The statute says that it is the proceeds received by the defendants,
28
           not by their enterprise, that are forfeitable.’ (United States v. Masters


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 1         (7th Cir. 1991) 924 F.2d 1362, 1370, cert. denied, 500 U.S. 919, 114 L.
 2         Ed. 2d 105; see United States v. Olson, (8th Cir. 1994) 22 F.3d 783,
           785, cert. denied, 115 S. Ct. 320 (bank officers' salaries and bonuses
 3
           are subject to forfeiture, not the bank depositors' funds).) Even if the
 4         government had included the Named Companies as RICO defendants,
           its assertion that $ 28 million is subject to forfeiture would be absurd.
 5
           A corporate defendant's racketeering "proceeds" are subject to
 6         forfeiture. . . (See Masters, 924 F.2d at 1370; United States v. Lizza
 7         Indus., Inc. (2d Cir. 1985) 775 F.2d 492, 497-98, cert. denied, 475 U.S.
           1082.)”
 8         (United States v. Riley (8th Cir. 1996) 78 F.3d 367, 371.)
 9
     The government’s theory is flawed. Criminal forfeiture operates in personam
10
     against a defendant; it is part of his punishment following conviction. (See,
11
     United States v. Lazarenko (9th Cir. 2007)          476 F.3d 642, 647.)           This
12
     distinguishes the forfeiture judgment in a criminal case from the in rem judgment
13
     in a civil forfeiture case. (United States v. Vampire Nation (3d Cir. 2006) 451
14
     F.3d 189, 202.) Here, the government seeks to re-open the implications of prior
15
     convictions of individuals alleged to be operating under the scope of the Mongols
16
     Nation and somehow obtain forfeiture of the collective trademarks worn by
17
     thousands of motorcycle riders across the country. (See generally, Indictment.)
18
     RICO does not provide for the government’s long-reaching efforts.             (Ibid;
19
     Riley,78 F.3d at 370-371; United States v. Saccoccia (1st Cir. 2003) 354 F.3d 9,
20
     14-15 (“At first blush, the present holding may appear to diverge from the stated
21
     legislative intent to accord the government extremely aggressive forfeiture
22
     remedies so as to preclude criminals from realizing the monetary benefits of their
23
     crimes . . . On the Other hand, the very potency of the forfeiture power demands
24
     that it be reasonably contained within ascertainable limits.).) The indictment must
25
     be dismissed for lack of jurisdiction under RICO.
26
     ///
27
     ///
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 1         The government is blurring the boundaries afforded to them by the RICO
 2   act. The indictment alleges defendant violated section 1962(c), but that section
 3   “prohibits any person employed by or associated with any enterprise from
 4   participating in or conducting the affairs of the enterprise through a pattern of
 5   racketeering activity.” (Abraham v. Singh (5th Cir. 2007) 480 F.3d 351, 357
 6   (emphasis in original) (internal quotations and citations omitted); see also, Whelan
 7   v. Winchester (5th Cir. 2003) 319 F.3d 225, 229.) “To state a claim under
 8   subsection (c), a plaintiff must demonstrate, inter alia, that the RICO person is
 9   distinct from the RICO enterprise.” (Abraham, supra, 480 F.3d at 357.) A party
10   cannot simultaneously be enterprise under RICO and RICO defendant. (Lopez v
11   Dean Witter Reynolds, Inc. (1984, ND Cal) 591 F Supp. 581.)
12         "A pattern of racketeering activity", suggests the principle that to establish
13   liability under § 1962(c), existence of two distinct entities—(1) a "person," and (2)
14   an "enterprise" that is not simply same "person" referred to by different name—
15   must be alleged and proven, as in ordinary English one speaks of employing,
16   being employed by, or associating with others, not oneself. (Cedric Kushner
17   Promotions, Ltd. v King (2001) 533 US 158; 2001 CDOS 4747; 2001 Daily
18   Journal DAR 5855; RICO Bus Disp Guide (CCH) P 10085; 2001 Colo J C A R
19   2949, 14 FLW Fed S 334.)
20         An "enterprise" may not be held liable for damages under 18 USCS §
21   1962(c) either directly or under principles of respondeat superior, since both
22   direct liability and vicarious liability are directly at odds with Congressional intent
23   behind § 1962(c) to separate enterprise from criminal "person". (Schofield v First
24   Commodity Corp. (1st Cir. 1986) 793 F2d 28.) Moreover, courts have held that
25   the distinctness requirement is not satisfied where a corporation is the charged
26   defendant and the enterprise “consists merely of a corporate defendant associated
27   with its own employees or agents carrying on the regular affairs of the defendant,”
28   because if such pleading were allowed, the prohibition on naming the same



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  1   corporation as both the defendant and the RICO enterprise could be routinely
  2   evaded by listing corporate officers and employees as part of the enterprise,
  3   without affecting the gravamen of the complaint. (See, Riverwoods Chappaqua v.
  4   Marine Midland Bank (2nd Cir. 1994) 30 F.3d 339, 344.)
  5         While some courts have held that "person" and "enterprise" need not be
  6   separate entities under sections 1962(a), and (b), (Pennsylvania v Derry Constr.
  7   Co. (1985, WD Pa) 617 F Supp. 940), there is no question that in an action
  8   brought under section 1962(c), "person" and "enterprise" must be distinct
  9   entities. (United States v Standard Drywall Corp. (1985, ED NY) 617 F Supp.
 10   1283; Temple University v Salla Bros., Inc. (1986, ED Pa) 656 F Supp. 97; see,
 11   Richter v Sudman (1986, SD NY) 634 F Supp. 234 (RICO complaint naming
 12   defendant both "person" and "enterprise" under section 1962(c) was dismissed as
 13   corporate entity may not be simultaneously "enterprise" and "person" conducting
 14   affairs of enterprise through pattern of racketeering activity.); see also, Waddell &
 15   Reed Fin., Inc. v Torchmark Corp. (2003, DC Kan) 243 F. Supp. 2d 1232. (Life
 16   insurance company could not be defendant on Racketeering and Corrupt
 17   Organizations Act, 18 USCS §§ 1961 et seq., claim where plaintiffs asserted that
 18   life insurance company was one of alleged "enterprises" because "person" and
 19   "enterprise" engaged in racketeering activities must be different entities.).)
 20         Here, the government’s theory of a “pattern of racketeering activity”
 21   committed by defendant is nothing more than a re-hashing of prior convictions of
 22   individuals, only in the instant indictment, the government has removed the names
 23   of the actual actors and replaced them with defendant “MONGOL NATION.”
 24   This is nothing but an attempt to evade the in personam nature of RICO forfeiture.
 25   (See, Indictment at 20-23.)      Likewise, the conspiracy charge is alleged to have
 26   been accomplished by MONGOL NATION “acting by and through full patched
 27   members of the Mongols Gang.” (Indictment at 25.) The indictment explicitly
 28   names individuals, listing “leaders, officers, full patched members, and



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  1   prospective members” whom the government claims were involved in murder,
  2   distribution of narcotics, collection of tax payments for narcotics-trafficking, and
  3   possession of weapons and devices used to enforce the authority of the Mongols.
  4   (Id. at 26.) The indictment goes on to include a large list of felonies committed by
  5   individuals from 2002 to 2012. (Id. at 28-39.) The indictment claims that these
  6   actions were committed while the individuals wore the Marks the government
  7   seeks to forfeit. But RICO forfeiture is limited to property owned by those same
  8   individuals; as explained infra, collective marks are not owned by the individuals
  9   who wear them to express association in a group. (Riley, 78 F.3d at 370; Vampire
 10   Nation,451 F.3d at 202; United States v. Nava (9th Cir. 2005) 404 F.3d 1119,
 11   1136-37.) The government eats its own tail in an attempt to seek forfeiture that is
 12   factually and legally impossible under RICO.
 13         The Club’s property cannot be forfeited even if individuals used it to act
 14   illegally. (See Nava, 404 F.3d at1136-37, Order at 13:8-11 (“there is no support
 15   for the notion that a defendant’s control of property belonging to a RICO
 16   enterprise is sufficient to establish a forfeitable ownership interest in the
 17   property”). The Ninth Circuit has made clear that “only the defendant’s interest in
 18   the enterprise is forfeitable, not the enterprise itself,” except in the unique
 19   situation, not presented here, “where the culpable person owns the entire
 20   enterprise.” (United States v. Busher (9th Cir. 1987) 817 F.2d 1409, 1413 n.7
 21   (emphasis in original); see also, United States v. Regan (2d Cir. 1988) 858 F.2d
 22   115, 119 n.2 (“Where a RICO defendant is a partner in a partnership, only his
 23   interest in that partnership, not the entire partnership, is forfeitable.”). Therefore,
 24   an “allegation that an enterprise was used to commit RICO violations is not
 25   enough to make the enterprise forfeitable.” (Riley, 78 F.3d at 370 (emphasis in
 26   original). The forfeiture theory forwarded on the Court by the government is
 27   irreparably flawed.
 28



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  1   C.    The Marks Are Collective Membership Marks That Cannot Be
  2         Forfeited Because The Marks Are Not Owned By The Individuals Who
            Alleged Committed Racketeering Acts
  3
  4         The government finds itself in a Catch-22. It can only obtain forfeiture on
  5   an in personam basis against individuals who actually commit racketeering acts.
  6   (Section II, A, supra.) Yet it cannot obtain forfeiture of the Marks because the
  7   Club does not commit racketeering acts. As alleged in the indictment, individuals
  8   committed the acts, not the Entity itself. In an ends oriented attempt to seize the
  9   Marks, the government ignores this reality and thereby attempts to exceed the
 10   jurisdiction granted to it by Congress under RICO. The indictment must be
 11   dismissed because the only objective of the indictment is forfeiture of the Marks
 12   but the government lacks jurisdiction for this objective.
 13         Even if the government can prove the allegations in the indictment, it does
 14   not lead to the conclusion that the government may seize ownership of the
 15   collective marks.   It would only lead to the conclusion that any       individual
 16   defendant’s (although there is none) right to the Mark would be forfeitable. But
 17   the problem with this theory is that collective marks follow the group. Thus, an
 18   individual’s loss of the right to “ownership” of a collective mark would not
 19   deprive other members of the group from wearing the Marks. Individuals would
 20   always be permitted to wear the Mark on their jackets as they currently do to show
 21   affiliation with the Mongols.     The government’s theory fails when the basic
 22   tenants of collective marks are considered.
 23         The government cannot obtain forfeiture of the Marks because collective
 24   marks can only be owned by the organization to whom the Marks symbolize
 25   membership. (F.R. Lepage Bakery, Inc. v. Roush Bakery Products Co., Inc. (Fed.
 26   Cir. 1988) 851 F.2d 351, 353, modified on unrelated issue, (Fed. Cir. 1988) 863
 27   F.2d 43; Sebastian Int’l, Inc. v. Longs Drug Stores Corp. (9th Cir. 1995)
 28   (Ferguson, J., concurring) 53 F.3d 1073, 1077; Huber Baking Co. v. Stroehmann



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  1   Bros. Co. (2d Cir. 1958) 252 F.2d 945, 952.) By their very nature, collective
  2   membership marks are owned by organizations, not individuals. “A collective
  3   mark denotes membership in an organization,” (International Order of Job’s
  4   Daughters v. Lindeburg and Co. (9th Cir. 1980) 633 F.2d 912, 914 n.2, and
  5   informs “relevant persons of the member’s association with the organization.”
  6   (Vistein v. American Registry of Radiologic Technologists (N.D. Ohio 2007) 509
  7   F. Supp. 2d 666, 703, aff’d in relevant part, 342 Fed. Appx. 113 (6th Cir. 2009).
  8   The government cannot hold the Club—nor its thousands of law abiding
  9   members—responsible for the actions of those mentioned in the indictment and it
 10   cannot eliminate the existence of the Club or the members’ rights to bear the
 11   Marks.
 12         Accordingly, as a matter of law, as individuals cannot own a collective
 13   mark, the government is barred because it can only obtain forfeiture on an in
 14   personam basis against the individuals who commit the racketeering acts but here
 15   the defendant is the Mongol Nation as an entity. (Section II, A, supra; see, e.g., 21
 16   U.S.C. § 853(p) (only the "property of the defendant" may be forfeited as
 17   "substitute property"); United States v. Jimerson (11th Cir. 1993) 5 F.3d 1453,
 18   1454 (innocent spouse's "interest in the property is unaffected by her husband's
 19   forfeiture to the Government" even though property was used to "facilitate"
 20   criminal activity); see also, United States v. Certain Real Property at 2525 Leroy
 21   Lane (6th Cir. 1989) 910 F.2d 343, 349 ("forfeiture statutes are intended to
 22   impose a penalty only upon those who are significantly involved in a criminal
 23   enterprise"); United States v. Tanner (West Virg. 1994) 853 F. Supp. 190, 197
 24   (the purpose of section 853 "is not to divest innocent persons of their legitimate
 25   interests in property"); United States v. Lester (9th Cir. 1996) 85 F.3d 1409,
 26   1415.) But the Marks are not owned the individuals and there is no alternative
 27   theory available to justify forfeiture.
 28   ///



                                      [MOTION TO DISMISS]
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  1         As the Lepage court explained this principle:
  2         the users of a collective mark must be members of an “organization”
  3         …. An individual person or corporation … is not, in that capacity, the
            owner of a collective mark and cannot register it as a collective
  4         mark…. A collective mark is said to be “a trademark or service mark
  5         used by the members of a cooperative, an association or other group
            or organization.” It follows logically that only such an organization as
  6
            is indicated by the statutory definition can become the owner of a
  7         collective mark ….
  8         851 F.2d at 353-54 (emphasis in original).
  9
      Only the Club, not any individual member, has ever owned the Marks. And
 10
      because no indicted individual defendant ever owned the Marks, and because
 11
      forfeiture is an in personam device, the Marks are not subject to forfeiture.
 12
            As collective membership marks, the Marks are a type of trademark. (15
 13
      U.S.C. § 1127.) They are subject to the same rules and limitations as any mark.
 14
      (15 U.S.C. § 1054; Sebastian, supra, 53 F.3d at 1075; PGA v. Bankers Life &
 15
      Casualty. Co. (5th Cir. 1975) 514 F.2d 665, 668; Carefirst of Maryland, Inc. v.
 16
      First Care, P.C. (E.D. Va. 2004) 350 F. Supp. 2d 714, 724 n.9, aff’d, 434 F.3d 263
 17
      (4th Cir. 2006).) A trademark “is not a property in the ordinary sense.” (Power
 18
      Test Petroleum Distributors, Inc. v. Calcu Gas, Inc. (2d Cir. 1985) 754 F.2d 91,
 19
      97.) Instead, a trademark is an intangible “limited property right in a particular
 20
      word, phrase or symbol,” separate from any tangible items bearing the mark.
 21
      (New Kids on the Block v. News America Pub., Inc. (9th Cir. 1992) 971 F.2d 302,
 22
      306; see also, 15 U.S.C. § 1127.) Most importantly, a trademark “does not confer
 23
      a right to prohibit the use of the word or words” contained in the mark under all
 24
      circumstances. (Prestonettes, Inc. v. Coty (1924) 264 U.S. 359, 368, 44 S. Ct. 350,
 25   68 L. Ed. 731.)
 26   ///
 27   ///
 28   ///


                                     [MOTION TO DISMISS]
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  1         The government is logically, legally and factually barred from obtaining
  2   forfeiture. Even assuming arguendo that RICO did somehow grant jurisdiction,
  3   because the government and the Mongols are two different entities and collective
  4   marks cannot be owned by an organization to which the collective marks do not
  5   indicate membership, forfeiture of the marks to the government is impossible.
  6                                     III
  7        THE GOVERNMENT’S INDICTMENT SHOULD BE DISMISSED BECAUSE IT
             OPERATES AS A PRIOR RESTRAINT ON SPEECH IN VIOLATION OF
  8                           THE FIRST AMENDMENT
  9
            It is apparent that the government’s seeks forfeiture of the Marks to prevent
 10
      anyone from wearing them and thereby demonstrating affiliation with the
 11
      Mongols. (See, generally, Indictment.) This is simply a content based regulation
 12
      of speech with insufficient justification to avoid violating the First Amendment.
 13
      The Court could dismiss the indictment on First Amendment grounds alone.
 14
            The First Amendment does not permit the government to impose special
 15
      prohibitions on those speakers who express views on disfavored subjects. (R. A.
 16
      V. v. St. Paul (1992) 505 U.S. 377, 391 (holding law that proscribes donning of
 17
      swastika “facially unconstitutional.”).) The point of the First Amendment is that
 18
      majority preferences must be expressed in some fashion other than silencing
 19
      speech on the basis of its content. (Id. at 392.) Just as the government has no right
 20
      to prevent individuals from swastikas, it has no right to prevent individuals to
 21
      from wearing the Marks. (Ibid.) The government has disguised its attempt to
 22
      suppress the Mongols’ freedom of speech and association in the form of forfeiture
 23
      but the effect is undeniably the same as if it was a statutory regulation of speech.
 24
      (See, Indictment (seeking forfeiture of collective marks).)      And it is equally
 25
      impermissible. (St. Paul, 505 U.S. at 391-392 ; (Church of American Knights of
 26
      the Ku Klux Klan v. Kerik (2d Cir. 2004) 356 F.3d 197, 206.)
 27
 28



                                     [MOTION TO DISMISS]
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  1         The First Amendment protects the display of insignia by Club members,
  2   because such display “communicate[s] the fact of their association with this
  3   particular kind of organization.” (Sammartano v. First Judicial Dist. Court (9th
  4   Cir. 2002) 303 F.3d 959, 971-72.)       It is the essence of protected speech to
  5   proclaim one’s association or affinity with an organization by wearing or
  6   displaying distinctive clothing, words, or images. (Kerik, 356 F.3d at 206 (2d Cir.
  7   2004); Sons of Confederate Veterans, Inc. ex rel. Griffin v. Commission of
  8   Virginia Dept. of Motor Vehicles (4th Cir. 2002) 288 F.3d 610, 620.) Moreover,
  9   the display of an image necessarily constitutes protected speech. Such images,
 10   whether contained in “paintings, photographs, prints [or] sculptures … always
 11   communicate some idea or concept to those who view [them], and as such are
 12   entitled to full First Amendment protection.” (Bery v. City of New York (2d Cir.
 13   1996) 97 F.3d 689, 696.)
 14         The seizure of expressive materials is a prior restraint on speech. (Fort
 15   Wayne Books, Inc. v. Indiana (1989) 489 U.S. 46, 63-64.) The Government’s
 16   ability to seize property bearing the trademark acts as a prior restraint. Apart from
 17   narrow exceptions not present here, the First Amendment prohibits prior restraints
 18   on speech. (Johansen for and on Behalf of NLRB v. San Diego County Dist.
 19   Council of Carpenters) 745 F.2d 1289, 1294 (9th Cir. 1984) (citing cases). “It is
 20   axiomatic that the government may not regulate speech based on its substantive
 21   content or the message it conveys.” (Rosenberger v. Rector and Visitors of
 22   University of Virginia (1995) 515 U.S. 819, 828.) In particular, a ban on symbols
 23   or images associated with motorcycle clubs is unconstitutional, because
 24   “motorcycle enthusiasts are targeted with a regulation that applies to them solely
 25   because they choose to communicate the fact of their association with this
 26   particular kind of organization.” (Sammartano, 303 F.3d at 971-72.)
 27         The First Amendment does not permit restrictions on an individual’s speech
 28   “merely because an individual belong[s] to a group, some members of which



                                     [MOTION TO DISMISS]
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  1   committed acts of violence.” (NAACP v. Claiborne Hardware Co. (1982) 458
  2   U.S. 886, 920; cf. Healy v. James (1972) 408 U.S. 169, 186 (First
  3   Amendment rights cannot be infringed based on “guilt by association”).       As a
  4   result, “liability could not be imposed consistent with the First Amendment solely
  5   on account of an individual’s association with others who have committed acts of
  6   violence; he must have incited or authorized them himself.” (Planned Parenthood
  7   of Columbia/Willamette, Inc. v. American Coalition of Life Activists (9th Cir.
  8   2002) 290 F.3d 1058, 1073.) The government may not restrict protected speech of
  9   a person not shown to have committed any unlawful conduct.
 10         Nor is it any answer to suggest that a person displaying the Marks
 11   necessarily endorses or advocates illegal activity, even assuming that to be the
 12   case. “The mere tendency of speech to encourage unlawful acts is not a sufficient
 13   reason for banning it.” (Ashcroft v. Free Speech Coalition (2002) 535 U.S. 234,
 14   253.) A “person’s speech ... is not removed from the ambit of First Amendment
 15   protection simply because it advocates an unlawful act.” (White v. Lee (9th Cir.
 16   2000) 227 F.3d 1214, 1227.) The First Amendment does not permit government
 17   “to forbid or proscribe advocacy of the use of force or of law violation except
 18   where such advocacy is directed to inciting or producing imminent lawless action
 19   and is likely to incite or produce such action.” (Brandenburg v. Ohio (1969) 395
 20   U.S. 444, 447.) Therefore, speech that “merely endorse[s] or encourage[s] the
 21   violent actions of others” is protected by the First Amendment. (Planned
 22   Parenthood, 290 F.3d at 1072.) This principle does not apply “only to political
 23   discourse,” and “all expression, advocacy or not,” must “meet the Brandenburg
 24   test” before it can be regulated. (James v. Meow Media, Inc. (6th Cir. 2002) 300
 25   F.3d 683, 699.)
 26         There is no allegation by the government that the existence of the Marks
 27   and their ownership by the Club is likely to incite or produce imminent lawless
 28   action. Instead, the government is attempting to seize the Marks as a form of



                                    [MOTION TO DISMISS]
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  1   punishment for alleged RICO violations. But such punishment is prohibited by
  2   the First Amendment because it is a prior restraint on speech as applied to the
  3   Club as an entity and its’ members as individuals. (Brandenburg,395 U.S. at 447;
  4   White, 227 F.3d at 1227; Fort
  5   Wayne Books, 489 U.S. at 63-64; Sammartano, 303 F.3d at 971-72; St. Paul, 505
  6   U.S. at 391-392.)
  7                                  IV
  8     THE GOVERNMENT’S FORFEITURE REQUEST CONSTITUTES VIOLATES THE
       FIFTH AMENDMENT BY DEPRIVING DEFENDANT OF PROPERTY WITHOUT DUE
  9                           PROCESS OF LAW
 10
            The government seeks to seize the Club’s property for the actions of
 11
      individuals as described in the indictment. (Indictment at 28-35.) It follows that
 12
      the government is justifying the seizure based on convictions of which defendant
 13
      was not associated.    (Ibid.)    Thus, the government is attempting to punish
 14
      defendant for prior convictions against non-parties that defendant had no
 15
      opportunity to defend against.      (Ibid.)   This violates the Fifth Amendment’s
 16
      protection against deprivation of property without due process of law. (U.S.
 17
      CONST. 5TH AMEND.) The purpose of the Fifth Amendment is to limit power of
 18
      legislature, as well as of prosecuting officers of the United States. (Ex parte
 19
      Wilson (1885) 114 US 417.) The Fifth Amendment due process clause extends
 20
      protection to any significant property interest, to property rights less substantial
 21
      than full legal title, whether they come from private contract or state law; even
 22
      mere arguable right of possession constitutes property. (Federal Deposit Ins. Corp.
 23
      v Morrison (11th Cir. 1984) 747 F2d 610.)         The government is attempting to
 24
      seize the Marks—property owned by defendant—under RICO but RICO does
 25
      grant sufficient jurisdiction. (Sections II-III, supra.)        Consequently, the
 26
      government is violating defendant’s due process rights and the indictment should
 27
      be dismissed.
 28



                                       [MOTION TO DISMISS]
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  1                                           V
  2         SEVERAL ALLEGATIONS IN THE INDICTMENT ARE BARRED BY THE RICO
                              STATUTE OF LIMITATIONS
  3
  4          The government filed the indictment on February 13, 2013. (Dckt. # 1.)
  5   Any violations alleged to have occurred before February 13, 2009 are barred by
  6   the five year statute of limitations. (See, Indictment at 28-30 (alleging dozens of
  7   violations from 2002-2008).) The Court should rule that the government is barred
  8   from pursuing any of the allegations in that time period. (See, United States v.
  9   Darden (8th Cir. 1995) 70 F.3d 1507, 1525; United States v. Salerno (2d Cir.
 10   1989) 868 F.2d 524, 534.)
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  1                                           VI
  2                                      CONCLUSION
  3         The government has overreached in its vendetta to seize the collective
  4   marks from the Club. In so doing, the government has recklessly violated the
  5   First Amendment and acted in excess of the jurisdiction granted under RICO. The
  6   government’s carefully crafted indictment cannot change the in personam nature
  7   of RICO forfeiture. The government has wrongly charged defendant for the
  8   alleged violations of individuals acting outside of their scope of membership with
  9   the Club. Even if the allegations were accurate, a successful prosecution would
 10   not permit the government the forfeiture it requests. Because the sole objective of
 11   the indictment is to gain forfeiture of the Marks, but this purpose is barred by the
 12   nature of RICO itself and the First Amendment, the Court should dismiss the
 13   action entirely.
 14
 15                                          Respectfully submitted,
 16
 17
 18   Dated September 12, 2013              /s/Bob Bernstein________________
 19
                                            Bob Bernstein, Esq.
                                            BERNSTEIN LAW OFFICE, INC.
 20                                         Attorneys for David Santillan
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                                     [MOTION TO DISMISS]
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